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                                                              Wednesday, 23 October, 2019 05:25:22 PM
                                                                          Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

OSF HEALTHCARE SYSTEM an Illinois            )
not for profit corporation d/b/a OSF HEALTHCARE SAINT
                                             )
FRANCIS MEDICAL CENTER,                      )
        Plaintiff,                           )
                                             )
vs.                                          )                            No.
                                             )
BOARD OF TRUSTEES OF THE PERSONAL ASSISTANT  )
HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME  )
CARE HEALTH PLAN (Exact Name Unknown),       )
                                             )
FUND ADMINISTRATOR OF THE PERSONAL ASSISTANT )
HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME  )
CARE HEALTH PLAN (Exact Name Unknown),       )
                                             )



                                        COMPLAINT

       NOW COMES Plaintiff, OSF HEALTHCARE SYSTEM an Illinois not for profit

corporation d/b/a OSF HEALTHCARE SAINT FRANCIS MEDICAL CENTER (hereinafter

referred to as “OSF” or “Plaintiff”), by its attorneys, KOTH, GREGORY & NIEMINSKI, P.C.,

and for its Complaint against Defendant, BOARD OF TRUSTEES OF THE PERSONAL

ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME CARE HEALTH

PLAN (Exact Name Unknown) and co-Plan Administrator/Third Party Administrator, FUND

ADMINISTRATOR OF THE PERSONAL ASSISTANT HEALTH FUND FOR THE SEIU

HEALTHCARE IL HOME CARE HEALTH PLAN, (hereinafter referred to jointly as “Health

Plan Administrators” or “Defendants”), states as follows:

I.     GENERAL ALLEGATIONS

       1.     That this action is brought pursuant to 29 U.S.C. § 1132(c)(1)(B).

       2.     That Plaintiff may recover attorney fees pursuant to 29 U.S.C. §1132(g).

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        3.      That this court has jurisdiction pursuant to 29 U.S.C. § 1132(e)(1).

        4.      That Plaintiff is a healthcare provider authorized and licensed to provide medical

services within the State of Illinois. That Plaintiff is located in the City of Peoria, Peoria County,

Illinois.

        5.      That the proper venue is the Central District of Illinois pursuant to 28 U.S.C.A. §

1391(b)(2) because a civil action may be brought in a judicial district in which a substantial part

of the events or omissions giving rise to the claim occurred, or a substantial part of property that

is the subject of the action is situated.

        6.      That on or around January XX, 2017 through January XX, 2017, February XX,

2017 through February XX, 2017, and February XX, 2017 through March XX, 2017 the Plaintiff

provided medical services and materials to a patient, T.S., in the City of Peoria, Peoria County,

Illinois.

        7.      That the sum of the medical services provided by Plaintiff to T.S. on the dates

stated in Paragraph 6 total $548,448.75. See the Affidavit of Damages attached hereto as Exhibit

A.

        8.      That at the time the medical services and supplies were rendered to T.S., T.S. was

a member of and/or had health insurance coverage through the Personal Assistant Health Fund

for the SEIU Healthcare IL Home Care Health Plan (Exact Name Unknown) (hereafter referred

to as the “Health Plan”), an employee medical plan. That Plaintiff never received a copy of the

requested Health Plan for these claims from Defendants. Plaintiff does not have a copy of the

Health Plan to attach. See Affidavit attached hereto as Exhibit B and a copy of the patient’s

insurance card attached hereto as Exhibit C.




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       9       That based on information and belief, Defendant, BOARD OF TRUSTEES OF

THE PERSONAL ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME

CARE HEALTH PLAN (Exact Name Unknown), is the Health Plan Administrator, and

Defendant, FUND ADMINISTRATOR OF THE PERSONAL ASSISTANT HEALTH FUND

FOR THE SEIU HEALTHCARE IL HOME CARE HEALTH PLAN (Exact Name Unknown),

is the co-Health Plan Administrator/Third Party Administrator, for purposes of administering the

Health Plan regarding medical claims.

       10.     That Plaintiff received the SEIU Healthcare IL Home Care Health Plan –

Summary Plan Description For Members Choosing the PPO Option, effective May 2011

(hereafter referred to as “2011 PPO Option Plan”) for an account for a different patient not

included in this Complaint. Please see the SEIU Healthcare IL Home Care Health Plan-

Summary Plan Description For Members Choosing the PPO Option attached hereto as Exhibit

D.

       11.     That Plaintiff’s belief is based on the following language on page 40 of the SEIU

Healthcare IL Home Care Health Plan – Summary Plan Description For Members Choosing the

PPO Option:

       “Your Plan is sponsored and administered by a joint labor-management Board of
       Trustees. The Board is divided equally between Trustees selected by the Union and
       by Trustees appointed by Employers who contribute to the Fund. The names and
       addresses of the members of the Board of Trustees and of the Fund Office are
       shown on page____... The Trustees are assisted in the administration of the Plan by
       an Administrator (Third-Party Administrator) who is responsible for routine
       administrative duties and processing claims and benefit payments. The name and
       address of the Fund Administrator is on page____.”

Please see Page 4 of Exhibit D.

       12.     That the Health Plan falls within the definition of “employee benefit plan” set

forth in 29 U.S.C. §1002.

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       13.     That the Health Plan provides medical coverage for said medical goods and

services provided by Plaintiff to T.S. on the dates stated in paragraph 6.

       14.     That Plaintiff submitted claims to the Health Plan/Health Plan Administrator

requesting payment of the medical goods and services provided by Plaintiff to T.S. on the dates

stated in Paragraph 6.

       15.     That the Health Plan has made partial payments directly to OSF for these claims

in the combined amount of $44,642.45. See Exhibit A and Group Exhibit F.

       16.     That the Defendants, on behalf of the Health Plan, have denied/refused to pay full

health plan benefits on the balances remaining for these claims.

       17.     That the outstanding balance that remains due and owing from the Health Plan to

Plaintiff for these claims totals $503,806.30. See Exhibit A.

       18.     That the Explanations of Benefits fail to meet the requirements of a valid and

enforceable denial pursuant to 29 C.F.R. §2560.503-1(g)(1)(i)-(iv). See Group Exhibit F.

II.    STANDING

       19.     That the term “beneficiary” means a person designated by a participant, or by the

terms of an employee benefit plan, who is or may become entitled to a benefit thereunder. 29

U.S.C. § 1002(8). The term “person” means an individual, partnership, joint venture, corporation,

mutual company, joint-stock company, trust, estate, unincorporated organization, association, or

employee organization. 29 U.S.C. § 1002(9).

       20.     The plain language of 29 U.S.C. § 1002(8) states a person can become a beneficiary

via designation by either the participant or by the terms of an employee benefit plan. Thus, if there

is a designation by one, the other cannot prevent the designation.




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       21.     That Plaintiff is a designated beneficiary/claimant pursuant to 29 U.S.C. § 1002(8)

for each of the following reasons:

               A.      The OSF Healthcare System Authorization/Release/Agreement to Pay

                       signed by the patient (See Group Exhibit E, Section 2) is a designation by

                       the participant that Plaintiff is a beneficiary,

               B.      The OSF Healthcare System Authorization/Release/Agreement to Pay

                       signed by the patient (See Group Exhibit E, Section 5) is also an assignment

                       by the participant to OSF of her rights/benefits under the employee health

                       plan,

               C.      The Health Plan’s direct benefit (direct payment) to Plaintiff is an

                       acknowledgment of the patient/participant’s designation of Plaintiff as a

                       beneficiary as well as an acknowledgment of the patient/participant’s

                       assignment of benefits to Plaintiff by the Health Plan.

               D.      The Health Plan’s direct benefit (direct payment) to Plaintiff is a designation

                       by the Health Plan that Plaintiff is a beneficiary (See Group Exhibit F),

               E.      The Pre-certification, authorization and approval of claims (See Group

                       Exhibit G) by the Health Plan is a designation by the Health Plan that

                       Plaintiff is a beneficiary.

               F.      Based on information and belief, the express terms of the Health Plan

                       designate Plaintiff as a beneficiary. See Exhibit N.

Designated Beneficiary by Patient/Participant

       22.     That the patient a/k/a participant designated Plaintiff “as a beneficiary and thus a

person or corporation who is entitled to benefits under any health plan of which I am a participant.



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As a beneficiary, OSF has the right to make a claim for benefits, appeal, receive a copy of the

health plan and all documents relating to the benefit determination, receive payment for healthcare

services and materials provided by OSF, and take legal action if necessary.” See Section 2 entitled

Beneficiary Designation of the OSF Healthcare System Authorization/Release/Agreement to Pay

signed by the patient attached hereto as Group Exhibit E.

       23.     Section 2 of the OSF Healthcare System Authorization/Release/Agreement to Pay

makes Plaintiff a designated beneficiary pursuant to 29 U.S.C. § 1002(8) with standing to file a

claim, appeal, sue, and receive requested documents from the Health Plan Administrator. See

Group Exhibit E, Group Exhibit J, Group Exhibit M, and Group Exhibit O.

Assignment of Benefits by Patient/Participant

       24.     That the patient also “assign[ed] to OSF all claims and rights to payment under

any insurance policy or health plan of which Patient is an insured, participant, or a beneficiary,

and authorize[d] my insurer, plan administrator, and/or attorney to release to OSF the applicable

insurance policy/health plan and claim adjudication information and/or documents relating to the

benefit determination upon written request from OSF. OSF has the right to make a claim for

payment/benefits, appeal, receive a copy of the insurance policy/health plan and all documents

relating to the claim adjudication/benefit determination, receive payment for healthcare services

and materials provided by OSF, and take legal action if necessary.” See Section 5 entitled

Assignment of Benefits of the OSF Healthcare System Authorization/ Release/Agreement to Pay

attached hereto as Group Exhibit E.

       25.     That Plaintiff is a properly assigned and designated beneficiary/claimant of any

benefits payable under the Health Plan and is legally entitled to seek payment directly from the

Health Plan as well as seek a copy of the governing plan documents and all documentation



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related to the processing of the claims and benefit determinations from the Health Plan

Administrator. See 29 U.S.C.A. § 1002(8); 29 U.S.C.A. § 1132.

Assignment by the Health Plan

        26.      Due to the Health Plan having made partial payments to Plaintiff, the Health Plan

has acknowledged and created an assignment. OSF Healthcare System v. Boyd Benefits, CDIL

Case No. 12-1413 (ECF No. 33 at 8). Thus, Plaintiff is also an assignee and Plaintiff also has

standing to bring this claim as an assignee. Id.

        27.      That the United States Court of Appeals for the Seventh Circuit has explained that

an assignee designated to receive benefits is considered a beneficiary and can sue for unpaid

benefits under section 1132(a)(1)(B) and bringing that suit (or an administrative appeal) requires

access to information about the plan and its payment calculations. Griffin v. TeamCare, 2018

U.S. App. LEXIS 33660, *8 (7th Cir. Ill., November 30, 2018). Thus, the Plaintiff has standing

to make a claim, appeal, pursue payment, and file suit to obtain the ERISA mandated

information and documentation requested. Id.

Direct Benefits (Payments)

        28.      The direct benefits Plaintiff received from the Health Plan also establishes

Plaintiff’s standing to sue as a beneficiary and as a beneficiary Plaintiff has standing to file a claim,

appeal and receive requested documents from the Health Plan Administrator. See 29 U.S.C. §

1002(8).      That Plaintiff has received direct benefits under the Health Plan by having received

direct payments in the total amount of $44,642.45 from the Health Plan. See Explanations of

Benefits attached hereto as Group Exhibit F.

        29.      The Health Plan provides benefits (a/k/a payment) for the medical services the

patient/participant received from Plaintiff and acknowledged Plaintiff’s beneficiary status as



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evidenced by the partial payments made by the Health Plan directly to the Plaintiff for these

claims. The United States Court of Appeals for the Seventh Circuit has explained that Plan

administrators do not randomly pay benefits to individuals not entitled to them. See Griffin v.

TeamCare, 2018 U.S. App. LEXIS 33660, *6 (7th Cir. Ill., November 30, 2018) citing to Hess v.

Hartford Life and Accident Ins. Co., 274 F.3d 456, 462 (7th Cir. 2001). Thus, the Plaintiff was

entitled to the benefit/payment because Plaintiff is a beneficiary.

        30.    That this Honorable Court has explained that “it stands by its decision in OSF

Healthcare System v. Boyd Benefits, CDIL Case No. 12-1413 (ECF No. 33 at 7-8) in that

pursuant to Kennedy “the possibility of direct payment is enough for a federal court’s

jurisdiction,” thus an actual payment definitely suffices to enable a federal court to exercise

jurisdiction.” OSF Healthcare System v. Nestle USA, Inc., CDIL Case No. 15-01316 (ECF No.

17 at 8).

        31.    That Plaintiff is not only a party who is or may become entitled to a benefit under

the Health Plan, but has actually received direct benefits under the Health Plan for these claims

by having received direct payments from the Health Plan. See Group Exhibit F. The payment of

direct benefits under the Health Plan for these claims is a designation by the Health Plan that

Plaintiff is one who is or may become entitled to a benefit from the Health Plan for these claims.

Thus, Plaintiff is a proper beneficiary/claimant of any benefits payable under the Health Plan for

these claims and is legally entitled to seek payment directly from the Health Plan as well as seek

a copy of the governing health plan documents and all documentation related to the processing of

the claims and benefit determinations. See 29 U.S.C.A. § 1002(8); 29 U.S.C.A. § 1132.




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Pre-certification, Authorization and Approval

       32.     Based on information and belief, HealthLink, Inc., acts on behalf of the Health

Plan during the pre-certification process. HealthLink pre-certified, authorized and approved the

claims with the dates of service of January XX, 2017 through January XX, 2017 and February

XX, 2017 through February XX, 2017. See Affidavits of Jennifer Landino and Hospital Notes

attached hereto as Group Exhibit G.

       33.     That HealthLink, Inc.’s pre-certification, approval and authorization for payment

of these claims is a representation of the terms of the Health Plan. That by pre-certifying,

approving and authorizing these claims, HealthLink, Inc. designated OSF as one who is or may

become entitled to a benefit under the Health Plan.

Express Terms of Health Plan (Based on Information and Belief)

       34.     That it is Plaintiff’s understanding, based on one page of the Health Plan received

from Defendants’ attorney, that the Health Plan states “The Fund will treat any document you are

asked by a provider to sign to assign your rights as a Plan Participant or to alienate a claim for

benefits to a provider, to be only an authorization for direct payment by the Fund to the

provider”. Please see letter from Defendants’ attorney dated April 12, 2019 enclosing one page

of the Health Plan document attached hereto as Exhibit I.

       35.     That pursuant to the one page of the Health Plan document provided by

Defendants’ attorney, the Health Plan’s language expressly states that hospitals are entitled to

receive payment. Payment is the only benefit a participant can receive in a welfare plan

specifically in reference to health care coverage. The Health Plan cannot provide the medical

services. Thus, the only benefit the participant can receive is her Health Plan paying the hospital

that provided the medical services.



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III.    SPECIFIC ALLEGATIONS

       36.     That Plaintiff requested a status update for these claims from the Health Plan /

Plan Administrators via facsimile on March 23, 2017. Please see Plaintiff’s facsimile dated

March 23, 2017 attached hereto as Exhibit H.

       37.      That Plaintiff received a letter dated August 3, 2017 from the Health Plan / Plan

Administrators stating:

       “As you know, OSF Health is an out-of-network provider. Such providers are not
       entitled to our premium provider relations service. In addition, OSF attorneys,
       Koth and Gregory have threatened litigation against our Fund, leaving us unable
       to communicate with OSF except through our attorneys. We will not respond to
       phone call, phone messages, faxes or letters for the foreseeable future.”

Please see letter dated August 3, 2017 from the Health Plan / Plan Administrators attached

hereto as Exhibit I.

       38.     That the letter dated August 3, 2017 from the Health Plan / Plan Administrators is

completely erroneous and in violation of ERISA and was not from the Board of Trustees.

       39.     That only Plaintiff itself, and not Koth, Gregory & Nieminski, P.C. nor any other

entity, contacted the Health Plan / Plan Administrators with respect to these claims as of August

3, 2017 and to state otherwise is completely false and a statement made in bad faith.

       40.     That Plaintiff’s first appeal in regards to the purported denials and/or refusals to

pay the balances or full plan benefits by the Health Plan/Plan Administrators was submitted to

the Health Plan / Plan Administrators on October 4, 2017. See Plaintiff’s Appeals & Requests

for Document dated 10/4/17 attached hereto as Group J.

       41.     That Plaintiff’s first written requests for a copy of the governing health plan

documents and all documentation related to the processing of the claims and benefit

determinations were submitted to Defendant on October 4, 2017 (See Group Exhibit J),



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specifically requesting “a copy of the health plan/insurance policy and all documents relevant to

the processing of the claim(s) within 30 days to this office.” See Plaintiff’s Appeals & Requests

for Documents dated 10/4/17 attached hereto as Group Exhibit J.

       42.     That Plaintiff received a letter dated October 24, 2017 from the Health Plan / Plan

Administrators stating:

       “As you know, OSF Health is an out-of-network provider. Such providers are not
       entitled to our premium provider relations service. In addition, OSF attorneys,
       Koth and Gregory have threatened litigation against our Fund, leaving us unable
       to communicate with OSF except through our attorneys. We will not respond to
       phone call, phone messages, faxes or letters for the foreseeable future.”

Please see letter dated October 24, 2017 from the Health Plan / Plan Administrators attached

hereto as Exhibit K.

       43.     That the letter dated October 24, 2017 from the Health Plan / Plan Administrators

is completely erroneous and in violation of ERISA and was not from the Board of Trustees.

       44.     That only Plaintiff itself, not Koth, Gregory & Nieminski, P.C. nor any other

entity, contacted the Health Plan / Plan Administrators with respect to these claims as of October

24, 2017 and to state otherwise is completely false and a statement made in bad faith.

       45.     That Plaintiff submitted an e-mail to the Health Plan/ Plan Administrators on

November 28, 2017 requesting a status update as to the appeals it filed with the Health Plan/Plan

Administrator on October 4, 2017. See Group Exhibit L.

       46.     That Plaintiff never received a substantive written response to its appeals dated

October 4, 2017 or a copy of the requested documents.

       47.     That Plaintiff received an e-mail from the Health Plan / Plan Administrator on

December 18, 2017 attaching a letter from the Health Plan /Plan Administrators which states:

       “As you know, OSF Health is an out-of-network provider. Such providers are not
       entitled to our premium provider relations service. In addition, OSF attorneys,

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       Koth and Gregory have threatened litigation against our Fund, leaving us unable
       to communicate with OSF except through our attorneys. We will not respond to
       phone call, phone messages, faxes or letters for the foreseeable future.”

See Group Exhibit L.

       48.     That the letter from the Health Plan / Plan Administrators attached to the

December 18, 2017 e-mail from the Health Plan / Plan Administrator is completely erroneous

and in violation of ERISA.

       49.     That only Plaintiff itself, not Koth, Gregory & Nieminski, P.C. nor any other

entity, contacted the Health Plan / Plan Administrators with respect to these claims as of

December 18, 2017 and to state otherwise is completely false and a statement made in bad faith.

       50.     That Plaintiff via legal counsel, Koth, Gregory & Nieminski, P.C., submitted

another appeal in regards to the purported denials and/or refusals to pay the balances or full plan

benefits by the Health Plan/Plan Administrators to the Health Plan / Plan Administrators on

February 14, 2019. See Exhibit M.

       51.     That Plaintiff specifically requested from Defendants in Plaintiff’s Continued

Appeal and Request for Documents dated February 14, 2019 the following information/

documentation:

          (1) the Plan, the Summary Plan Description, the Declaration Page, the
          Schedule of Benefits, the Certificate of Coverage, and all Plan Documents
          applicable for the above referenced claims, (2) the full administrative record
          for the above referenced claims, (3) all correspondence--written and oral (if
          oral, all notes, logs, & data entry) in regards to the above referenced claims,
          (4) all data reflecting oral communication between the patient, participant,
          beneficiary, hospital or other interested party with the plan administrator,
          third-party claims administrator, or agent for the plan administrator and/or
          third-party claims administrator in regards to the above referenced claims,
          (5) all reports used to support the purported adverse benefit determination
          of the above referenced claims, (6) all documents/data/evidence used to
          support the purported adverse benefit determinations, (7) all equation(s)/
          formula(s) /methodologies used to support the purported adverse benefit
          determinations, (8) the names and credentials/qualifications of all experts or

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          individuals processing, handling or reviewing these accounts and/or
          implementing the equation(s)/formula(s)/ methodologies to the above
          referenced claims, (9) the name(s), title(s), and contact information of the
          person(s) who made these purported benefit determinations and the basis
          for the purported benefit determinations, and (10) the name(s), title(s), and
          contact information of the person(s) in charge of these claims.

See Plaintiff’s Continued Appeal and Request for Documents dated 2/14/19 attached hereto as

Exhibit M.

       52.     That, to date, Plaintiff has yet to receive a substantive written response to its

appeals or a copy of the documents that Plaintiff has requested. Rather, Plaintiff received the

attached misguided and erroneous letter from Defendants’ counsel dated April 12, 2019. See

letter from Defendants’ counsel dated April 12, 2019 attached hereto as Exhibit N.

       53.     That Plaintiff’s counsel submitted the attached letter dated June 7, 2019 to

Defendants’ counsel in response to the letter dated April 12, 2019 from Defendants’ counsel.

See letter from Plaintiff’s counsel dated June 7, 2019 attached hereto as Exhibit O.

       54.     Defendants have failed to provide meaningful access to review procedures for

these claims by failing to provide a copy of the requested Health Plan documents and the

documentation related to the processing of the claims and benefit determinations. See Group

Exhibit J, Exhibit M, and Exhibit O.

       55.      That this Honorable Court has explained that “we must remember, however, the

purpose of the regulations: to afford the beneficiary and the courts a sufficiently precise

understanding of the ground for the denial to permit a realistic possibility of review, even under a

deferential standard.   Given a plan’s non-compliance with the regulations, it is hardly our

responsibility to scour the record in an effort to justify the plan’s decision.” Halpin v. W.W.

Grainger, Inc., 962 F.2d 685, 694 (7th Circuit, 1992).




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       56.     That this Honorable Court has reiterated that “the persistent core requirements of

review intended to be full and fair include knowing what evidence the decision-maker relied upon,

having an opportunity to address the accuracy and reliability of that evidence, and having the

decision-maker consider the evidence presented by both parties prior to reaching and rendering his

decision.” See Halpin v. W.W. Grainger, Inc., 962 F.2d 685, 689 (7th Cir. 1992).

       57.     That this Honorable Court has explained that the content requirement of 29 C.F.R.

§2560.503-1(g)(1)(i)-(ii) ensures that a full and fair review is conducted by the administrator,

enables the claimant to prepare adequately for appeal to the federal courts or further administrative

review, and makes it possible for the courts to perform the task, entrusted to them by ERISA, of

reviewing that denial. This Honorable Court has further explained that vague and formulaic

recitations do not identify the evidence considered by the administrator and the weight assigned,

nor do they provide a sufficiently clear picture of the reasoning underlying the administrator’s

decision to deny benefits. See OSF Healthcare System v. Contech Construction Products Inc.

Group Comprehensive Health Care, Case No. 13 cv 01554; Halpin v. W.W. Grainger, Inc., 962

F.2d 685, 693-694 (7th Cir. 1992).

       58.     That the purported reason stated in the Explanations of Benefits is a vague and

formulaic recitation. That the Explanations of Benefits do not indicate that a full and fair review

was conducted by the Health Plan Administrators, do not enable Plaintiff to prepare adequately

for appeal to the federal courts or further administrative review, and make it impossible for the

courts to perform the task, entrusted to them by ERISA, of reviewing the adverse benefit

determinations. See Group Exhibit F, Group Exhibit J, Exhibit M, and Exhibit O.




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       59.     That the Explanations of Benefits just state that "This plan states the approved

amounts for out-of-network claims will be based on the Medicare fee schedule”. See Group

Exhibit F.

       60.     That Defendants simply do not have valid and enforceable denials for these claims

pursuant to the requirements of ERISA. See Group Exhibit F, Group Exhibit J, Exhibit M, and

Exhibit O.

       61.      That, to date, Defendants have in bad faith and arbitrarily and capriciously

refused to provide Plaintiff with a copy of the Health Plan and other documents related to the

processing of these claims and benefit determinations despite Plaintiff’s written requests. See

Exhibit I, Exhibit K, Group Exhibit L, and Exhibit N.

       62.     That despite being made aware of the law regarding this issue, Defendants and

counsel, on behalf of Defendants, refuse to acknowledge Plaintiff’s rights as a beneficiary under

the Health Plan and to date Plaintiff has yet to receive a substantive written response to its claims

for additional benefits, a copy of the Health Plan, or the documents related to the processing of

the claims and benefit determinations as requested in Plaintiff’s appeal letters. See Exhibit I,

Exhibit K, Group Exhibit L, and Exhibit N.

       63.     That Plaintiff has made every reasonable good faith attempt to acquire the Health

Plan and the documentation related to the processing of the claims and benefit determinations

from Defendants, but Defendants have failed to provide said documents to Plaintiff.

       64.     That Defendants have a duty to comply with requests from Plaintiff for the Health

Plan and documentation related to the processing of the claims and benefit determinations. See

29 U.S.C.A. § 1002(8); 29 U.S.C.A. § 1132; 29 U.S. Code § 1021; 29 U.S.C.A § 1024.




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       65.     That Defendants are also required to discharge its’ duties solely in the interest of

the participants and beneficiaries and for the purpose of defraying administrative costs. See 29

U.S.C. § 1104(a)(1)(A).

       66.     That pursuant to 29 U.S.C. § 1132(c)(1)(B) and 29 C.F.R. 2575.502c-1, any

administrator who fails or refuses to comply with a request for any information which such

administrator is required by this subchapter to furnish to a participant or beneficiary (unless such

failure or refusal results from matters reasonably beyond the control of the administrator) by

mailing the material requested to the last known address of the requesting participant or

beneficiary within 30 days after such request may in the court's discretion be personally liable to

such participant or beneficiary in the amount of up to $110 a day from the date of such failure or

refusal, and the court may in its discretion order such other relief as it deems proper.

       67.     That Plaintiff may recover statutory damages up to $110 per day pursuant to 29

U.S.C. § 1132(c)(1)(B) and 29 C.F.R. 2575.502c-1 for Defendants’ failure as plan administrators

to provide a copy of the Health Plan and the documentation related to the processing of the

claims and benefit determinations as requested in Plaintiff’s letters attached hereto as Group

Exhibit J and Exhibit M.

      68.      That Defendants, individually as the Plan Administrators, have the responsibility

to produce the Health Plan documents and all documentation related to the processing of the

claims and benefit determinations to Plaintiff, and Defendants, individually as the Plan

Administrators, are personally financially liable to Plaintiff for the failure or refusal to do so. 29

U.S.C. § 1132 (c)(1)(B); 29 C.F.R. 2575.502c-1.

       69.     That thirty (30) days from October 4, 2017, the date of Plaintiff’s initial request

for Defendants to provide a copy of the plan and documentation related to the processing of the



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claims and benefit determinations, is November 4, 2017. That Plaintiff may recover statutory

damages up to $110 a day from November 4, 2017 pursuant to 29 U.S.C. § 1132(c)(1)(B) and 29

C.F.R. 2575.502c-1 for Defendants’ failure as plan administrator to provide a copy of the health

plan and documentation related to the processing of the claims and benefit determinations as

requested in Plaintiff’s letters.

        WHEREFORE, Plaintiff, OSF HEALTHCARE SYSTEM an Illinois not for profit

corporation d/b/a OSF HEALTHCARE SYSTEM SAINT FRANCIS MEDICAL CENTER,

prays for judgment against Defendants, BOARD OF TRUSTEES OF THE PERSONAL

ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME CARE HEALTH

PLAN (Exact Name Unknown) and FUND ADMINISTRATOR OF THE PERSONAL

ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME CARE HEALTH

PLAN (Exact Name Unknown), in which Defendants, BOARD OF TRUSTEES OF THE

PERSONAL ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME

CARE HEALTH PLAN (Exact Name Unknown) and FUND ADMINISTRATOR OF THE

PERSONAL ASSISTANT HEALTH FUND FOR THE SEIU HEALTHCARE IL HOME

CARE HEALTH PLAN, must provide to Plaintiff a copy of all Health Plan documents and all

documentation related to the processing of the claims and benefit determinations, statutory

damages as assessed by the Court pursuant to 29 U.S.C. § 1132(c)(1)(B) and 29 C.F.R.

2575.502c-1, plus court costs and attorney fees, and such other relief as this Honorable Court

deems proper.




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                            OSF HEALTHCARE SYSTEM, an Illinois not
                            for profit corporation d/b/a OSF HEALTHCARE
                            SAINT FRANCIS MEDICAL CENTER,
                            Plaintiff,
                            By: s/ Kristin L. Nieminski           ___
                            Dustin N. Koth
                            Douglas N. Koth
                            William L. Gregory
                            Kristin L. Nieminski
                            Attorneys for Plaintiff
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